     Case 2:20-cv-01447-APG-EJY Document 14 Filed 01/11/21 Page 1 of 1




 1                                UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3                                                 ***
 4    TRESLEY T. HENDLEY,                                    Case No. 2:20-cv-01447-APG-EJY
 5                  Plaintiff,
                                                                          ORDER
 6          v.
 7    STATE OF NEVADA; BRITTANY
      HURLEY; CCDC BOOKING; SHANA
 8    BROWERS; STEVEN B. WOLFSON;
      FRANK LOGRIPPO,
 9
                    Defendants.
10

11          Before the Court is what appears to be Plaintiff’s filing seeking leave to file an amended
12   complaint (ECF No. 9). As stated in the Court’s Order entered on January 8, 2021 (ECF No. 13),
13   Plaintiff is granted through and including February 12, 2021 to file an amended complaint stating a
14   claim against Brittany Hurley.
15          DATED this 11th day of January 11, 2021.
16

17
                                                         ELAYNA J. YOUCHAH
18                                                       UNITED STATES MAGISTRATE JUDGE
19

20

21

22

23

24

25

26

27

28
                                                    1
